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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               Civil Action No. 10-cv-80883-MARRA

  MAGALY PINARES et al.,

  Plaintiffs,

  v.
  UNITED TECH. CORP., Pratt
  & Whitney Group, a Connecticut
  Corporation,

  Defendant.
  _________________________/

           ORDER CORRECTING THE SUMMARY JUDGMENT ORDER (DE 514)

          This cause is before the Court sua sponte pursuant to Fed. R. Civ. P. 60(a), to correct a

  clerical mistake in the Order on Summary Judgment entered on October 8, 2019 [DE 514].

          The Court hereby corrects, in part, paragraph one of the Conclusion of the Summary

  Judgment order to read:

          The Court GRANTS SUMMARY JUDGMENT AS TO COUNTS I, II, III AND V OF

  THE FOURTH AMENDED COMPLAINT as those counts relate to claims for personal injury.

  The Court RESERVES RULING ON SUMMARY JUDGMENT AS TO COUNT IV OF THE

  FOURTH AMENDED COMPLAINT.

          DONE AND ORDERED in Chambers at West Palm Beach, Palm Beach County,

  Florida, this 4th day of November, 2019.

                                                ______________________________________
                                                KENNETH A. MARRA
                                                United States District Judge
